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                                                                       United States Bankruptcy Court
                                                                           Southern District of Texas

                                                                              ENTERED
                                                                            August 04, 2022
                   UNITED STATES BANKRUPTCY COURT
                                                                           Nathan Ochsner, Clerk
                     SOUTHERN DISTRICT OF TEXAS
                           VICTORIA DIVISION

 IN RE:                                    §         CASE NO. 22-60043
 FREE SPEECH SYSTEMS, LLC                  §
      Debtor.                              §         CHAPTER 11
                                           §         SUBCHAPTER V
                                           §


                  ORDER FOR INTRADISTRICT TRANSFER


       On the Court’s own motion, this case is transferred to the Houston Division in
accordance with the Bankruptcy Local Rules for the Southern District of Texas. The
case will be retained on the undersigned judge’s Houston docket. The case number
shall remain unchanged.


            August04,
            August 02,2022
                       2019
